        Case 1:10-cr-00265-OWW Document 43 Filed 11/03/10 Page 1 of 1


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 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                      )   1:10-cr-00265 OWW
11                                                  )
                           Plaintiff,               )   ORDER ON STIPULATION TO CONTINUE
12                                                  )   MOTIONS HEARING
                                                    )
13                                  v.              )   (DOCUMENT #42)
                                                    )
14   SERGIO RIGOBERTO SORIA-TORRES,                 )   Date: December 3, 2010
     et. al.,                                       )   Judge: Hon. Oliver W. Wanger
15                  Defendants.                     )
                                                    )
16                                                  )
17            The United States of America, by and through BENJAMIN B. WAGNER, United States
18   Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorney, and the defendants,
19   by and through their attorneys of record, having stipulated and agreed to continue the hearing on the
20   defendant’s motions, previously scheduled for evidentiary hearing on November 4, 2010 at 1:30
21   p.m., to December 3, 2010, at 9:30 a.m., IT IS HEREBY ORDERED that the parties’ stipulation is
22   GRANTED.
23            IT IS FURTHER ORDERED, that time be excluded to and through the date of the court’s
24   decision on the motions due to the pendency of the defendants’ motions. See 18 U.S.C. § 3161(h).
25
     IT IS SO ORDERED.
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     Dated:     November 3, 2010                                  /s/ Oliver W. Wanger
27                                                          UNITED STATES DISTRICT JUDGE
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